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                          Exhibit 4
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                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA


              CENTER FOR BIOLOGICAL
              DIVERSITY, et al.,

                        Plaintiffs,

                        v.                                              CASE NO. 1:21-cv-00119 (RDM)

              U.S. ENVIRONMENTAL PROTECTION
              AGENCY, et al.,

                        Defendants.


                DECLARATION OF ANN WILEY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                PARTIAL SUMMARY JUDGMENT

            I, Ann Wiley, make the following declaration:

                     1.        I am a resident of Fort Lauderdale, Florida.

                     2.        I am competent to make this declaration. I provide this declaration based upon

            my personal knowledge. I would testify to the facts in this declaration under oath if called upon

            to do so.

                     3.        I am a member of the Center of Biological Diversity (“the Center”) and have been

            a member since 2009. The Center is a not-for-profit corporation whose mission is to ensure the

            preservation, protection, and restoration of biodiversity, native species, ecosystems, public lands

            and water, and public health through science, policy, and environmental law.

                     4.        I participate in action alerts, which are notices by the Center of important

            environmental developments that, for example, asks their members to contact their elected

            officials to take a particular action; read the online newsletters; and I follow all the Center’s




                                                                 1
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            current issues. As a member, I rely in part on the Center to represent my interests in conserving

            endangered species and their habitats.

                     5.      I am member of the Center because I am an avid environmentalist, bird watcher,

            and sea turtle conservationist. Growing up in the Pacific Northwest, I had a tremendous

            appreciation and love for the outdoors and spent much time hiking, biking, skiing, sailing, and

            learning about flora and fauna. I moved to south Florida in 1984 and had to learn a new world—

            new plants, animals, birds, trees, soils, and ecosystems. Through volunteering, studying, taking

            courses, and working and spending time in the different ecosystems, I learned a lot about the

            uniqueness, wild places, and wildlife of south Florida.

                     6.      I visit Big Cypress National Preserve at least monthly to view different bird

            species, including state and federally listed species such as snail kites, roseate spoonbills, wood

            storks, and falcons, and other species such as ospreys, kingfishers, purple gallinules, and

            migratory birds. I was out birdwatching in Big Cypress as recently as February 11, 2021, and I

            plan to return there again at least once a month in the future.

                     7.      For work, I am an ecological tour guide for Dragonfly Expeditions, where I have

            worked for the past 15 years leading expeditions through the Everglades and Big Cypress

            National Preserve. I lead airboat rides through the Everglades and “swamp tromp” tours through

            Big Cypress, where visitors wade ankle-to-chest deep in water through the natural wetland

            environment. In the last season before COVID-19, I led these tours up to 4 to 5 days a week.

            Although the occurrence of these tours has slowed down somewhat because of the coronavirus

            health crisis, I continue to lead some tours, and I intend to continue regularly leading tours once

            we have gotten the pandemic more under control and health restrictions continue to ease.




                                                              2
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                     8.      I have also been engaged in environmental work as a volunteer. For example, in

            2007, I began volunteering with Sea Turtle Oversight Protection (“STOP”) in Broward County,

            Florida, where I documented disorientation events of sea turtle hatchlings drawn to artificial light

            rather than the sea, where I collected disoriented hatchlings and released them into the sea or

            took them to a rehabilitation facility. During my 10 years volunteering as a grounds docent at

            the Bonnet House Museum and Gardens, I led tours along the barrier islands of south Florida,

            highlighting vegetation and native plants, ecosystems, and native wildlife. I also give lectures to

            Road Scholar groups, travelers with an international tour company focused on education, about

            the Everglades and Big Cypress National Preserve.

                     9.      I rely on the Center to protect my interests in the environment which includes

            their ability to track, review, and make informed comments in opposition to harmful project

            applications, as well as litigating to challenge unlawful permits. See Declaration of Brett Hartl

            in Support of Plaintiffs’ Motion for Partial Summary Judgment, dated March 5, 2021, in this

            case. I am deeply concerned that Florida’s assumption of the state 404 program will open the

            floodgates for development in the environmentally sensitive areas where I work and recreate,

            resulting in environmental damage and degradation to the detriment of my interests.

                     10.     Two proposed projects that I am particularly concerned about are oil drilling

            projects in Big Cypress National Preserve that, if approved, would pave the way for oil drilling

            and production in the preserve for the next 30 years.

                     11.     Spanning over 700,000 acres, Big Cypress National Preserve is the nation’s first

            national preserve. It is a continuous freshwater ecosystem comprised of five habitats that are

            connected by the water that flows through them, and it is replenished entirely by rainwater. The

            water flows from the hardwood hammocks to the pinelands, across the prairies, into the cypress



                                                              3
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            swamps, and then into the estuaries that flow to the Gulf of Mexico. The freshwaters of Big

            Cypress are crucial to the health of the neighboring Everglades and critical to the wildlife that

            inhabit it. Big Cypress provides habitat for various listed species, discussed below, including

            the bird species that I enjoy observing when I visit Big Cypress, such as snail kites, roseate

            spoonbills, wood storks, and falcons. Big Cypress also provides the largest contiguous acreage

            of habitat for the endangered Florida panther in south Florida.

                     12.     The following is a photograph of an existing oil pad and associated roads in Big

            Cypress National Preserve, which is clearly visible in the landscape:




            An oil pad and road near Raccoon Point in the Big Cypress National Preserve (January 2019).
            Photo credit: Jonathan Milne, LightHawk

                     13.     For the first proposed project I am concerned about, the Nobles Grade Prospect

            (state 404 application number 323836-004), Burnett Oil Co., Inc., applied on January 21, 2021,

            to construct an oil drilling pad for three vertical wells and an access road in Big Cypress National

            Preserve for the purposes of oil drilling. The area would cover 21.21 acres and would result in

                                                              4
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            the filling of 85,000 cubic yards of wetlands in Big Cypress. The proposed area is located

            approximately three miles southwest of the rest stop at Interstate 75 mile marker 63. 1 This rest

            stop serves as an access point to hiking trails that go directly into the backcountry of Big

            Cypress. 2




            Location Map of the Nobles Grade prospect, from Burnett Oil’s 404 permit application No.
            323836-004.




            1
              Burnett Oil’s ERP / State 404 Application for Nobles Grade Prospect, available at
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_323836/gis-
            facility!search.
            2
              National Park Service, Big Cypress, I-75 Mile Marker 63,
            https://www.nps.gov/bicy/planyourvisit/i-75-mm-63.htm.
                                                              5
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            Alternative proposed routes for the Nobles Grade prospect, from Burnett Oil’s 404 permit
            application No. 323836-004.


                     14.     Big Cypress National Preserve provides habitat for threatened and endangered

            species. Endangered Species Act-listed species observed or potentially occurring within or near

            the Nobles Grade proposed project area include the following: the American alligator, eastern

            indigo snake, bald eagle, Everglade snail kite, wood stork, red-cockaded woodpecker, northern

            caracara, and the Florida panther. 3

                     15.     For the second proposed project I am concerned about, the Tamiami Prospect

            (state 404 application number 397879-002), Burnett Oil Co., Inc., applied on January 21, 2021,

            to construct an oil drilling pad and an access road in Big Cypress National Preserve at the eastern




            3
             Burnett Oil’s ERP / State 404 Environmental Supplement for Nobles Grade Prospect at 2.11,
            available at https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
            documents/ST404_323836/gis-facility!search.
                                                              6
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            boundary of the Preserve for the purposes of oil drilling. The area would cover 10.99 acres and

            would result in the filling of 46,000 cubic yards of wetlands in Big Cypress. 4




            Location Map of the Tamiami prospect, from Burnett Oil’s 404 permit application No. 397879-
            002.




            4
              Burnett Oil’s ERP / State 404 Application for Tamiami Prospect, available at
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_397879/gis-
            facility!search.
                                                              7
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            Alternative proposed routes for the Tamiami prospect, from Burnett Oil’s 404 permit application
            No. 397879-002.


                     16.     Endangered Species Act-listed species observed or potentially occurring within or

            near the Tamiami proposed project area include: the American alligator, eastern indigo snake,

            Everglade snail kite, wood stork, red-cockaded woodpecker, northern caracara, and the Florida

            panther. 5

                     17.     On February 3, 2021, the Center and other conservation groups sent a letter to the

            Florida Department of Environmental Protection raising concerns about the impacts of the

            proposed project. I have reviewed this letter and incorporate it in this declaration, see Exhibit A,

            because I share the same concerns regarding these oil projects.




            5
             Burnett Oil’s ERP / State 404 Environmental Supplement for Tamiami Prospect at 2.12,
            available at https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
            documents/ST404_323836/gis-facility!search.
                                                              8
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                     18.      For example, not included and fully analyzed in Burnett Oil’s applications are the

            scope of activities attendant to oil development and drilling and their impacts, including:

                           a. Upstream (Well) Development Activities. 6

                                   • Development activities, including those associated with access roads,

                                     staging areas, seismic operations, as well as geophysical exploration

                                     including surveying/staking, land/tree clearing, explosives use, boring and

                                     vehicle traffic.

                                   • Well field development activities, including those associated with

                                     production wells, well pads, drilling rigs, pump/well heads, reserve pits,

                                     storage tanks, fuel tanks, water tanks, electric equipment, drilling pipe

                                     storage, water wells, waterlines, surface water intakes, disposal wells,

                                     water impoundments, borrow pits, reserve pits, electric distribution lines,

                                     communication towers.

                                   • Construction activities associated with well pads and ancillary features

                                     and onsite components, including but not limited to surveying/staking,

                                     land/tree clearing, grading, stormwater and erosion and sediment control

                                     infrastructure, wetland, stream and sensitive area mitigation/protection,

                                     trenching/boring, surface water pumping, spoil/debris, vegetation piles,

                                     vehicle traffic, drilling/well pad development and completion activities,




            6
              Letter from the Center and other conservation groups to the Florida Department of
            Environmental Protection (DEP), dated February 3, 2021, “RE: Burnett Oil Company, Inc.’s
            Section 404 Clean Water Act/Environmental Resource Permit application nos. 323836-004 and
            397879-002 to facilitate new oil drilling in the Big Cypress National Preserve and public records
            request under Chapter 119, Florida Statutes” at 5-6. (Exh. A).
                                                                9
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                                     office, control, utility, storage and maintenance structures incidental to

                                     specific projects.

                                   • Production and operations activities, including those related to access

                                     roads, production, gas flaring, vehicle traffic, post-construction

                                     stormwater management, maintenance of well pads and ancillary features

                                     and components (including supporting infrastructure installation, repair

                                     and replacement, equipment upgrades, inspections and repairs, workovers

                                     and recompletions, minor amounts of soil disturbance, vegetation

                                     maintenance, road maintenance, etc.).

                                   • Decommissioning and reclamation activities, including those associated

                                     with vehicle traffic, land/tree clearing, land excavation/backfilling,

                                     vegetation restoration and well plugging.

                         b. Midstream (Pipeline) Development Activities.

                                   • Construction of gathering, transmission and distribution pipelines and

                                     associated activities, including but not limited to access roads, staging

                                     areas, pipe storage/laydown areas, stream and water crossings, road

                                     borings, surveying/staking, land/tree clearing, stormwater and erosion

                                     and sediment controls, grading, trenching/boring, stockpiles, pipeline

                                     assembly, trench backfilling, vehicle traffic, revegetation and reclamation

                                     of surface impacts.

                                   • Construction of surface features, including but not limited to access

                                     roads, staging areas and storage yards, booster, compressor and pump

                                     stations and related facilities, meter stations, mainline valves, pig


                                                               10
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                                     launcher/receiver facilities, regular facilities, facilities to process, refine,

                                     stabilize and store natural gas and/or other hydrocarbons, communication

                                     towers, electric distribution lines, electric substations, capacitator

                                     stations, transformer stations, office/control/utility/storage/maintenance

                                     structures incidental to specific projects, parking areas, cathodic

                                     protection, storage tanks.

                                   • Operation and maintenance of pipeline and surface facilities, including

                                     but not limited to vehicle traffic, equipment upgrades, inspections and

                                     repairs/replacements, leak detection, pigging, painting, minor amounts of

                                     soil disturbance, vegetation maintenance to preserve the ROW [right-of-

                                     way], road maintenance, and odorization.

                                   • Installation of new culverts/ditches, gas flaring, blow downs, and

                                     hydrostatic testing and discharge.

                                   • Decommissioning and reclamation of pipeline and surface facilities,

                                     including but not limited to vehicle traffic, land excavation/backfilling,

                                     and vegetative restoration.

                     19.     Because Big Cypress National Preserve is a continuous ecosystem connected by

            the flow of freshwater, any disruption to this flow from the oil projects would lead to still or

            stagnant water directly north and south of the site, altering and disturbing the natural

            environment on which plant and animal species depend. Similarly, pollution at one location in

            Big Cypress will affect the remaining habitats to which that water flows, thereby threatening

            water quality downstream and in turn, threatening the species that rely on this habitat.




                                                                11
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                     20.     Aside from disruptions to the flow of water and the threat of pollution / water

            quality degradation, the construction and operation of oil drilling infrastructure will negatively

            impact the species within the vicinity of the projects. Birds and other wildlife will be forced to

            flee as a result of the noise, ground vibration, the presence of machinery, vehicles, and humans,

            and other attendant circumstances described in paragraph 17. Animals that cannot get away

            risk injury from construction activities.

                     21.     The Tamiami Prospect makes these harms particularly concerning to me,

            because I lead tours through the Everglades that go near the boundary of the proposed project

            site, where I show my tour group participants how the open expanse of the Everglades abruptly

            transitions into Big Cypress Swamp with its dense cypress forests. Where these two very

            different ecosystems meet, we look for snail kites, roseate spoonbills, wood storks, falcons,

            ospreys, kingfishers, purple gallinules, and migratory birds, which are known to appear there.

                     22.     Harms to water flow and water quality would impact my ability to lead tours for

            work, of which some tours occur in the Fakahatchee Strand, a thread of forested swamp within

            the southwest area of Big Cypress that is home to threatened and endangered species such as

            the Florida panther, wood stork, fox squirrel, and Everglades mink. I also regularly go out and

            observe wildlife along Loop Road, which is an area to the south of Big Cypress. Because these

            two projects are to the north of these areas, harms to water flow and water quality – and in turn

            to the habitats of species within Big Cypress – would be felt downstream, potentially impacting

            my work and recreational activities.

                     23.     Burnett Oil’s proposed projects are particularly concerning in light of the

            harmful impacts from previous seismic activities in Big Cypress National Preserve in 2017 and

            2018, when Burnett Oil utilized Vibroseis (seismic vibration technology) to send signals into



                                                              12
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            the earth to locate subsurface oil and natural gas deposits within Big Cypress. This seismic

            exploration took place over approximately 110 square miles of the Preserve and resulted in

            significant environmental damage that is still present today. The damage included severely

            altered and rutted wetland soils; removal of dwarf cypress trees, which provide roosting sites

            for birds and other wildlife above high water levels; significantly diminished vegetation

            groundcover; the presence of dwarf pond cypress tree stumps that are not re-sprouting and the

            absence of seedlings for these trees; and uneven ground elevations as a result of the company’s

            reclamation attempts, among other harms. 7

                     24.     In addition to harming an ecosystem that I love and enjoy visiting to take in the

            natural scenery and wildlife, these projects, on their own and when considered in conjunction

            with past damage from oil exploration and the full scope of what oil drilling involves, threaten

            my ability to earn a living as a tour guide in the Everglades and Big Cypress National Preserve.

            Pollution, stagnant or disrupted water flows, and loss or displacement of wildlife would

            adversely affect my work. Much of the economy of south Florida, including my job, is driven

            by the beauty and uniqueness of the area’s gorgeous and diverse ecosystems, such as the

            miraculous Everglades and Big Cypress National Preserve. Damage to these ecosystems would

            affect my income and decrease my number of tours and talks through the decrease in the

            number of tourists who visit the locations we tour.

                     25.     I believe that the earth and its ecosystems, and the native animals who live in

            them, have inherent, intrinsic value, completely unrelated to man. I believe that biodiversity is

            what makes life, and what makes life worthwhile. I believe that animals in the wild have the

            inherent right to live a safe and healthy life in their wetlands. Man has evolved such that he has



            7
                Exh. A at 2-3.
                                                              13
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            the power to aid or destroy all other species. No other single species can do this. It is our duty

            and obligation to preserve and protect the wondrous world we are each visiting. That is how I

            live my life, and see my life’s work.

                     I declare under penalty of perjury that the foregoing is true and correct and was executed
                       3
            on March __, 2021 in Fort Lauderdale, Florida.




                                                             Ann Wiley




                                                               14
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                         Exhibit A
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Via electronic mail to




                         Center for Biological Diversity v. U.S. Environmental Protection Agency
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Existing Damage Caused by Oil Exploration in the Preserve Remains




 See
October 20th, 2020 Burnett O                              D Seismic Oil and Gas Exploration in the Big Cypress
National Preserve
                                                Summary of March 6, 2020 Site Assessment within Burnett Oil
                            D Seismic Oil and Gas Exploration area, Big Cypress National Preserve, Collier
County, Florida

                                                                                          D Seismic Oil and
Gas Exploration in the Big Cypress National Preserve

                                                Seismic Survey Inspection Report, Big Cypress National Preserve

                  Phase I Seismic Survey Inspection Report, Big Cypress National Preserve


 Id.
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                                       D Seismic Oil and Gas Exploration in the Big Cypress
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Impacts from Proposed Oil Development Must Not be Piecemealed




                                       D Seismic Oil and Gas Exploration in the Big Cypress National
Preserve
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  A. Upstream (Well) Development Activities




  B. Midstream (Pipeline) Development Activities




See                        Oil & Gas Coalition Multi-State Habitat Conservation Plan
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       C. Greenhouse Gas Emissions from Oil Development, including Downstream Activities, and
          Climate Change




                                                   Summary for Policymakers in



                      Summary of IPCC 1.5°C Report

                                                                                NCA4
  Id
                                                      Climate Change 2014 Synthesis Report: Contribution of
Working Groups I, II, and III to the Fifth Assessment Report of the Intergovernmental Panel on Climate Change
                                                    AR5
 NCA4


USGS 2018 Report
 Id
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Formal Government-to-Government Tribal Consultation is Required




Public Records Request under Chapter 119, Florida Statutes




                   Executive Order on Tackling the Climate Crisis at Home and Abroad


                   Memorandum on Tribal Consultation and Strengthening Nation-to-Nation Relationships


  See                           Supplemental Analysis for Greenhouse Gas Emissions Related to Oil and Gas
Leasing in Utah, DOI-BLM-UT-0000-2021-0001-EA
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Conclusion and Formal Meeting and Notice Request




                                          Why Drill for Oil in Florida? Tiny Industry, Huge Risks
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